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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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UNITED STATES OF AMERICA
ORDER
V. _—_
DEREK MOORER, 15 CR 468-06 (VB)
Defendant. :
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A violation of supervised release (“VOSR”) proceeding in this case is scheduled for
January 27, 2021, at 11:00 a.m.

Because of the current public health emergency, the Court expects to conduct the
proceeding by videoconference via Skype for Business (or by telephone conference if
videoconferencing is not reasonably available).

Accordingly, it is hereby ORDERED:

1, The VOSR proceeding will be conducted through Skype for Business. In advance
of the proceeding, Chambers will email all counsel with further information on how to access the
proceeding. Those participating by video will click on the link or calendar invite to be provided
by Chambers. Only the Court, the defendant, defense counsel, and counsel for the government
will appear by video for the proceeding; all others will participate by telephone. Only one
counsel per party may participate by video. Co-counsel, members of the press, and the public
may access the audio feed of the proceeding by calling (917) 933-2166 and entering Conference
ID 186399446#.

2, To optimize use of the Court’s videoconferencing technology, all participants
appearing by video must:

a, Use a web browser other than Microsoft Explorer to access Skype for
Business;

b. Use hard-wired internet or WiFi. If using WiFi, the device should be
positioned as close to the WiFi router as possible to ensure a strong signal.
(Weak signals may cause delays or dropped feeds.)

C. Minimize the number of others using the same WiFi router during the
conference.
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3, If Skype for Business does not work well enough and the Court decides to
transition to its teleconference line, counsel and defendant should call (888) 363-4749 (toll free)
or (215) 446-3662 and use Access Code 1703567. (Members of the press and public may call
the same number but will not be permitted to speak during the conference.)

Dated: January 11, 2021
White Plains, NY
SO ORDERED:

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Vincent L. Briccetti
United States District Judge

 
